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UNITED STATES DISTRICT COURT i
DISTRICT OF MASSSACHUSETTS | f fla! 4
[off

SABRINA BRYSON, Individually and —

 

)
As Administratrix of the Estate of VAUGHN )
ADAM WILSON, JR. )
)
Plaintiffs )
) Civil Action No. 4-11-cv-40052-TSH
v. )
)
AMERICAN MEDICAL RESPONSE )
OF MASSACHUSETTS, INC. )
)
Defendants )
Jury Verdict Form
l. Was the defendant American Medical Response of Massachusetts, Inc., negligent?
YES NO x Sn agreewerT

If your answer is “yes” please answer Question # 2. If your answer is “no” please sign the
verdict form and contact the court officer.

2. Was such negligence a substantial factor in causing Vaughn Adam Wilson Jr., death?
YES NO
If your answer is “yes” please answer Question # 3. If your answer is “no” please sign the
verdict form and contact the court officer.
3. Was the defendant grossly negligent?
YES NO

If your answer is “yes” please go to Question # 4. If your answer is “no” please go to
Question # 5.
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4. Was any such gross negligence a substantial factor in causing (the decedent’s) death?
YES NO

If your answer is “yes” go to Questions #5, 6 and 7. If your answer is “no” please go to
Questions # 5 and 6.

5. What is the fair monetary value of decedent to each of the next of kin?

A, SABRINA BRYSON

$
(AMOUNT IN FIGURES)

 

$
(AMOUNT IN WORDS)

 

B. VAUGHN ADAM WILSON, SR.

$
(AMOUNT IN FIGURES)

 

$
(AMOUNT IN WORDS)

 

6. What are the fair and reasonable medical expenses?

$
(AMOUNT IN FIGURES)

 

$
(AMOUNT IN WORDS)

 
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7. What are the amounts of punitive damages for which you found defendant liable?

$
(AMOUNT IN FIGURES) [Minimum $5,000]

 

$
(AMOUNT IN WORDS)

 

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DATED: if taf14

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